     Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 1 of 18



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

VU TRAN, Individually and On Behalf    §
of All Others Similarly Situated,      §
                                       §
             Plaintiff,                §
                                       §
v.                                     §            No. 4:17-CV-03588
                                       §
KEANE FRAC TX, LLC; KEANE              §
FRAC ND, LLC; KEANE FRAC GP,           §        JURY TRIAL DEMANDED
LLC; KEANE FRAC, LP; KEANE             §
GROUP, LLC and KEANE GROUP             §
HOLDINGS, LLC,                         §
                                       §
             Defendants.               §

                    PLAINTIFF’S MOTION FOR CLASS
                CERTIFICATION & EXPEDITED DISCOVERY

                                           MELISSA MOORE
                                           State Bar No. 24013189
                                           Federal Id. No. 25122

                                           CURT HESSE
                                           State Bar No. 24065414
                                           Federal Id. No. 968465

                                           BRIDGET DAVIDSON
                                           State Bar No. 24096858
                                           Federal Id. No. 3005005

                                           MOORE & ASSOCIATES
                                           Lyric Center
                                           440 Louisiana Street, Suite 675
                                           Houston, Texas 77002
                                           Telephone: (713) 222-6775
                                           Facsimile: (713) 222-6739

                                           ATTORNEYS FOR PLAINTIFF
       Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 2 of 18



                                                TABLE OF CONTENTS

I.    Statement of the Case ................................................................................................... 1

II. Definition of Class ........................................................................................................ 2

III. Description of Claims ................................................................................................... 2

      A. Statement of Facts ................................................................................................... 2

      B. Keane Fracking Violated the FLSA ........................................................................ 3

IV. Authority for Class Certification .................................................................................. 6

V. Prerequisites to Class Certification ............................................................................... 8

VI. Proposed Notice ............................................................................................................ 9

VII. Other Matters ........................................................................................................... 10

VIII. Conclusion ............................................................................................................... 11

Signature ............................................................................................................................ 12

Certificate of Conference................................................................................................... 12

Certificate of Service ......................................................................................................... 12




                                                                 ‐ ii ‐ 
   Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 3 of 18



                                      TABLE OF AUTHORITIES

Cases

   Acevedo v. Allsup’s Convenience Stores, Inc.,
    600 F.3d 516 (5th Cir. 2010) ..................................................................................... 7

   Anderson v. Mt. Clemens Pottery Co.,
    328 U.S. 680 (1946) .................................................................................................. 4

   Barnard v. Intertek USA Inc.,
    2012 U.S. Dist. LEXIS 127539 (5th Cir. 2012) ...................................................... 11

   Beall v. Tyler Technologies, Inc.,
    2009 U.S. Dist. LEXIS 87447 (5th Cir. 2009) ........................................................ 11

   Beliz v. McLeod,
    765 F.2d 1317 (5th Cir. 1985) ................................................................................... 4

   Belt v. Emcare Inc.,
    299 F. Supp. 2d 664 (E.D. Tex. 2003) ...................................................................... 6

   Castillo v. Givens, Inc.,
    704 F.2d 181 (5th Cir. 1983) ..................................................................................... 4

   Donovan v Univ. of Tex.,
    643 F.3d 1201 (5th Cir. 1981) ................................................................................... 6

   Dunlop v. Industrial America Corp.,
    516 F.2d 498 (5th Cir. 1975) ..................................................................................... 4

   Fisher v. Mich. Bell Tel. Co.,
     2009 U.S. Dist. LEXIS 98146 (E.D. Mich. Oct. 22, 2009) .................................... 10

   Flowers v. MGTI, LLC,
     No. H-11-1235,
     2012 U.S. Dist. LEXIS 73900 (S.D. Tex. May 29, 2012) ...................................... 10

   Gandhi v. Dell Inc.,
    No. A-08-CA-248,
    2009 WL 1940144 (W.D. Tex. Jul. 2, 2009) ............................................................ 7

   Gibson v. NCRC, Inc.,
    No. H-10-1409,
    2011 U.S. Dist. LEXIS 77591 (S.D. Tex. Jul. 18, 2011) ...................................... 8, 9

                                                         ‐ iii ‐ 
Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 4 of 18



Granchelli v. P&A Interests, Ltd.,
 No. H-11-4514,
 2013 U.S. Dist. LEXIS 14540 (S.D. Tex. Feb. 4, 2013) ........................................... 1

Hoffman-La Roche v. Sperling,
 493 U.S. 165 (1989) .................................................................................. 6, 9, 10, 11

Jones v. Cretic Energy Servs., LLC.,
  No. H-15-0051,
  2015 U.S. Dist. LEXIS 164786 (S.D. Tex. Dec. 9, 2015) ...................................... 10

Lee v. Veolia ES Indus. Servs.,
  No. 1:12-cv-136,
  2013 U.S. Dist. LEXIS 74193 (E.D. Tex. Apr. 12, 2013) ........................................ 9

Lopez v. Allis-Chalmers Energy Inc.,
  No. C-11-353 (S.D. Tex. Apr. 20, 2012) ................................................................ 11

Lusardi v. Xerox, Corp.,
  118 F.R.D. 351 (D.N.J. 1987) ............................................................................... 6, 7

Mares v. Wood Group Mustang, Inc.,
 No. H-14-089,
 2015 U.S. Dist. LEXIS 1018 (S.D. Tex. Jan. 6, 2015).............................................. 4

Martinez v. Bally’s Louisiana, Inc.,
 244 F.3d 474 (5th Cir. 2001) ..................................................................................... 4

Martinez v. Refinery Terminal Fire Company,
 2013 U.S. Dist. LEXIS 180827 (5th Cir. 2013) ...................................................... 11

McKnight v. D. Houston, Inc.,
 756 F. Supp. 2d 794 (S.D. Tex. 2010) ....................................................................... 8

Mooney v. Aramco Svcs. Co.,
 54 F.3d 1207 (5th Cir. 1995) ............................................................................. 1, 7, 8

Murray v. Stuckey’s, Inc.,
 939 F.2d 614 (8th Cir. 1991) ..................................................................................... 4

Sandoz v. Cingular Wireless,
  553 F.3d 913 (5th Cir. 2008) ..................................................................................... 7




                                                    ‐ iv ‐ 
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 5 of 18



   Sedtal v. Genuine Parts Co.,
     No. 1:08-CV-413,
     2009 U.S. Dist. LEXIS 63261 (E.D. Tex. July 23, 2009) ......................................... 6

   Shushan v. Univ. of Colo. at Boulder,
     132 F.R.D. 263 (D. Colo. 1990) ................................................................................ 6

   Skipper v. Superior Dairies,
     512 F.2d 409 (5th Cir. 1979) ..................................................................................... 4

    Sperling v. Hoffman-La Roche, Inc.,
     118 F.R.D.392 (D. N.J. Jan. 5, 1988) ........................................................................ 9

Statutes

   29 U.S.C. § 203(g) ........................................................................................................ 4

   29 U.S.C. § 203(r)......................................................................................................... 5

   29 U.S.C. § 203(s)(1) .................................................................................................... 5

   29 U.S.C. § 203(s)(1)(A) .............................................................................................. 5

   29 U.S.C. § 206(a) .................................................................................................... 4, 5

   29 U.S.C. § 207(a) ................................................................................................ 4, 5, 8

   29 U.S.C. § 207(a)(1).................................................................................................... 3

   29 U.S.C. § 211(c) .................................................................................................... 3, 4

   29 U.S.C. § 216(b) .......................................................................................... 1, 2, 6, 11

   29 U.S.C. §§ 201-219 ................................................................................................... 1

Rules

   FED. R. CIV. P. 23 ......................................................................................................... 1

   FED. R. CIV. P. 26(b)(1) .............................................................................................. 11




                                                            ‐ v ‐ 
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 6 of 18



Regulations

   29 C.F.R. § 516.27 ........................................................................................................ 3

   29 C.F.R. pt. 516 ........................................................................................................... 4




                                                           ‐ vi ‐ 
      Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 7 of 18



TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW Plaintiff Vu Tran, (referred to as “Plaintiff” or “Tran”) and files this

motion for class certification1 and expedited discovery. In support thereof, he would

respectfully show the Court as follows:

                                        I.    Statement of the Case

        Tran filed a putative collective action lawsuit against Keane Frac TX, LLC, Keane

Frac ND, LLC, Keane Frac GP, LLC, Keane Frac, LP, Keane Group, LLC, and Keane

Group Holdings, LLC (collectively referred to as “Defendants” or “Keane Fracking”) on

November 22, 2017, alleging that the company violated the Fair Labor Standards Act of

1938, 29 U.S.C. §§ 201-219, (“FLSA”) by, among other things, failing to pay him and

others similarly situated overtime for hours worked in excess of forty per workweek. (Pl.’s

Compl. (Dkt. 1) ¶¶ 32-42.) Five other individuals (i.e., Carlos Escamilla, Carl Murdy,

Jolee Charee, Eric Contreras, and Randall Headley) have exercised their statutory rights to

join this lawsuit by consenting in writing to become parties to it pursuant to 29 U.S.C. §

216(b).2 (Escamilla Consent (Dkt. 6); Charee Consent (Dkt. 7); Murdy Consent (Dkt. 10);

Contreras Consent (Dkt. 12); Headley Consent (Dkt. 13).) Now, because the evidence

establishes that Tran and the opt-in plaintiffs are similarly situated to other current and

former employees of Keane Fracking, they request that the Court conditionally certify this

                                                            
               1
                 This is a collective action under 29 U.S.C. § 216(b) and not a class action under FED. R. CIV. P.
23. However, since “most courts utilize class action terminology from Rule 23 cases[,]” Plaintiffs will do
so here. Mooney v. Aramco Svcs. Co., 54 F.3d 1207, 1212 (5th Cir. 1995).
        2
           “Individuals who already know about [a collective action] suit and want to join as additional
plaintiffs need not wait until certification and notice to do so.” Granchelli v. P&A Interests, Ltd., No. H-
11-4514, 2013 U.S. Dist. LEXIS 14540, at *5-*6 (S.D. Tex. Feb. 4, 2013).


                                                      -1-
     Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 8 of 18



case as a collective action pursuant to 29 U.S.C. § 216(b) and authorize the issuance of

notice to members of the putative class.

                                II.   Definitions of Classes

       Plaintiff requests that the Court conditionally certify the following classes pursuant

to 29 U.S.C. § 216(b):

          All drivers and/or logistics drivers employed by Keane Fracking during the last
          three years at the following locations: 8200 E. IH-20, Odessa, Texas 79766 and
          354 West Bradshaw, Springtown, Texas 76082;

          All sand haulers employed by Keane Fracking during the last three years at the
          following locations: 8200 E. IH-20, Odessa, Texas 79766 and 354 West
          Bradshaw, Springtown, Texas 76082.

                              III.    Description of Claims

A.     Statement of Facts

       Keane Fracking is an oilfield services company that provides logistics services to

customers in the oil and gas industry, primarily at drill sites in Texas, Pennsylvania, and

North Dakota. Keane Fracking employs two types of drivers: sand haulers and logistics

drivers (also referred to simply as “drivers”). Drivers and/or logistics drivers deliver

oilfield equipment, parts, and any other items requested. Ex. A, Tran Decl. ¶¶ 5-6; Ex. B.

Escamilla Decl. ¶¶ 6-7; Ex. C, Charee Decl. ¶¶ 5-6. Sand Haulers deliver sand and any

other requested items, and they monitor the distribution of the sand to the well site. Ex. D,

Headley Decl. ¶¶ 6-7. Both the sand haulers and the drivers and/or logistics drivers, drive

back and forth from either the Keane Fracking yard in Odessa, Texas or the Keane Fracking

yard in Springtown, Texas to drilling locations in the Midland/Odessa area. Ex. A, Tran

Decl. ¶ 6; Ex. B, Escamilla Decl. ¶ 7; Ex. C, Charee Decl. ¶ 6.


                                            -2-
     Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 9 of 18



       While employed with Keane Fracking, Tran, Escamilla, Murdy, Charee, and

Contreras have all worked as drivers and/or logistics drivers; Headley worked as a sand

hauler. Plaintiffs worked out of the yard located at 8200 E. IH-20, Odessa, Texas 79766 or

the yard at 354 West Bradshaw, Springtown, Texas 76082. Plaintiffs usually worked a

rotation, which was twenty days on followed by ten days off. Ex. A, Tran Decl. ¶ 8; Ex.

B, Escamilla Decl. ¶ 9. While working, Plaintiffs typically worked at between ninety-two

and ninety-eight hours per week. Ex. A, Tran Decl. ¶ 7; Ex. B, Escamilla Decl. ¶ 8; Ex. C,

Charee Decl. ¶ 7. Sometimes they worked as many as 106 hours per week. Ex. D, Headley

Decl. ¶ 8. Plaintiffs were not paid for their days off and did not accrue any sick days or

paid time off. Ex. A, Tran Decl. ¶ 8; Ex. B, Escamilla Decl. ¶ 9; Ex. C, Charee Decl. ¶ 8;

Ex. D, Headley Decl. ¶ 9. As with all other sand haulers, drivers and/or logistics drivers

employed by Keane Fracking, Plaintiffs were paid on an hourly basis. Ex. A, Tran Decl. ¶

9; Ex. B, Escamilla Decl. ¶ 10; Ex. C, Charee Decl. ¶ 9; Ex. D, Headley Decl. ¶ 10. And

despite working well in excess of forty hours per week, Keane Fracking paid all sand

haulers, drivers and/or logistics drivers straight time for overtime. Ex. A, Tran Decl. ¶ 11;

Ex. B, Escamilla Decl. ¶ 12; Ex. C, Charee Decl. ¶ 11; Ex. D, Headley Decl. ¶ 12. (Defs.’

Answer (Dkt. 19) ¶¶ 21-25, 36 (admitting that Keane Fracking knew Tran worked over

forty hours per week and that it paid him straight time for overtime).)

B.     Defendants Violated the FLSA

       The FLSA requires covered employers to pay nonexempt employees at one and one-

half times their regular rates for all hours worked in excess of forty during a workweek.

29 U.S.C. § 207(a)(1). It also requires employers to maintain certain records to document


                                            -3-
     Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 10 of 18



compliance with the minimum wage and overtime requirements of the Act.3, 4 29 U.S.C. §

211(c); 29 C.F.R. pt. 516. To establish a prima facie violation of the FLSA, a plaintiff

generally must show (1) the existence of an employment relationship with the defendants;

(2) that the employee was covered by the FLSA; (3) that the employer had actual or

constructive knowledge of overtime worked or wage payments in violation of the FLSA;

and (4) the amount owed.5 29 U.S.C. §§ 203(g), 206(a), 207(a); Mt. Clemens Pottery Co.,

328 U.S. at 687; Murray v. Stuckey’s, Inc., 939 F.2d 614, 621 (8th Cir. 1991).

        With respect to the first element, Tran’s paystubs clearly show that he was employed

by Keane Fracking. Ex. E, Vu Tran’s Paystubs. With respect to the second element, there

are two types of coverage under the FLSA: individual coverage and enterprise coverage.

Dunlop v. Industrial America Corp., 516 F.2d 498, 500-501 (5th Cir. 1975). On the one

hand, an employee is individually covered where he is “engaged in commerce or in the


                                                            
               3
                  Specifically, an employer must maintain the following records: (1) the employee’s personal
identifying information and (2) essential wage and hour information (i.e., pay period and date of payment,
basic pay rate, daily and weekly hours, straight time and overtime earnings, additions to and deductions
from wages, and total wages paid each pay period). 29 C.F.R. § 516.27.
        4
          In cases where the employer fails to discharge its duty to maintain accurate time records as
required by 29 U.S.C. § 211(c) and 29 C.F.R. § 516.27, the burden of proof shifts from the employee to the
employer. “In such a situation … an employee has carried out his burden if he proves that he has in fact
performed work for which he was improperly compensated and if he produces sufficient evidence to show
the amount and extent of that work as a matter of just and reasonable inference. The burden then shifts to
the employer to come forward with evidence of the precise amount of work performed or with evidence to
negate the reasonableness of the inference to be drawn from the employee’s evidence. If the employer fails
to produce such evidence, the court may then award damages to the employee, even though the result be
only approximate.” Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687-88 (1946); Beliz v. McLeod,
765 F.2d 1317, 1330 (5th Cir. 1985); Castillo v. Givens, Inc., 704 F.2d 181, 194-95 (5th Cir. 1983); Skipper
v. Superior Dairies, 512 F.2d 409, 419-20 (5th Cir. 1979). The employer cannot be heard to complain
about the imprecision of the employee’s proof, since it was the employer’s failure to maintain complete and
accurate pay and time records that made the relaxed burden of proof necessary, and the employee should
not be penalized by this default on the part of the employer. Mt. Clemens Pottery Co., 328 U.S. at 680.
        5
            The amount owed is subject to the burden-shifting principles discussed in supra note 4.


                                                    -4-
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 11 of 18



production of goods for commerce”; on the other hand, all of the employees of an

“enterprise” are covered (regardless of whether they are individually engaged in

commerce) if the statutory requirements are met. Id.; see also, 29 U.S.C. §§ 206(a), 207(a).

The FLSA defines “enterprise” as follows:

          “Enterprise” means the related activities performed (either through
          unified operation or common control) by any person or persons for a
          common business purpose, and includes all such activities whether
          performed in one or more establishments or by one or more corporate
          or other organizational units including departments of an
          establishment operated through leasing arrangements[.]

29 U.S.C. § 203(r). Section 203(s)(1) provides that such an enterprise

          (i) has employees engaged in commerce or in the production of goods
          for commerce, or that has employees handling, selling, or otherwise
          working on goods or materials that have been moved in or produced
          for commerce by any person; and

          (ii) is an enterprise whose annual gross volume of sales made or
          business done is not less than $500,000 (exclusive of excise taxes at
          the retail level that are separately stated);

29 U.S.C. § 203(s)(1)(A). In this case, Keane Fracking admits that it is covered by the

FLSA. (Defs.’ Answer (Dkt. 19) ¶¶ 19-21.)

       With respect the final two elements, Keane Fracking’s pay practices plainly violate

the FLSA. Pay period after pay period, Plaintiff and other sand haulers, drivers and/or

logistics drivers worked 14-hour shifts, approximately 6 to 7 days per week, but were not

paid overtime in violation of 29 U.S.C. § 207(a). Ex. A, Tran Decl. ¶¶ 7, 10; Ex. B,

Escamilla Decl. ¶¶ 8, 11; Ex. D, Headley Decl. ¶ 8, 11. (Defs.’ Answer (Dkt. 19) ¶¶ 21-

25, 36 (admitting that Keane Fracking knew Tran worked over forty hours per week and

that it paid him straight time for overtime).) Instead, Keane Fracking paid Tran and the


                                            -5-
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 12 of 18



other sand haulers, drivers and/or logistics drivers for the hours they worked over forty in

a workweek at their straight time rate. (Pl.’s Compl. (Dkt. 1) ¶¶ 32-42; Defs.’ Answer (Dkt.

19) ¶¶ 21-25, 36 (admitting that Keane Fracking knew Tran worked over forty hours per

week and that it paid him straight time for overtime).).

                          IV. Authority for Class Certification

       The FLSA expressly allows a collective action to “be maintained against any

employer (including a public agency) in any Federal or State court of competent

jurisdiction by any one or more employees for and in behalf of himself or themselves and

other employees similarly situated.” 29 U.S.C. § 216(b). “A collective action [under the

FLSA] is similar to a class action brought under Rule 23 of the Federal Rules of Civil

Procedure. But, it is different from a class action in that absent class members do not share

in the recovery (and are not bound by the judgment) unless they specifically opt into the

class upon receiving notice of the action.” Sedtal v. Genuine Parts Co., No. 1:08-CV-413,

2009 U.S. Dist. LEXIS 63261, at *4–*5 (E.D. Tex. July 23, 2009) (citing Belt v. Emcare

Inc., 299 F. Supp. 2d 664, 665 (E.D. Tex. 2003)) (internal citation omitted). A collective

action “prevents piecemeal litigation, inconsistent adjudications, and difficult res judicata

issues.” Belt, 299 F. Supp. 2d at 655 (citing Donovan v Univ. of Tex., 643 F.3d 1201, 1206-

1207 (5th Cir. 1981)).

       A district court may conditionally certify an FLSA collective action and authorize

notice to potential class members so that they may choose whether to opt into the lawsuit

if the plaintiff shows that he is “similarly situated” to those whom he purports to represent.

Hoffman-La Roche v. Sperling, 493 U.S. 165, 169 (1989). Courts recognize two approaches


                                            -6-
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 13 of 18



to determine whether to authorize notice to similarly situated employees: the two-stage

method set forth in Lusardi v. Xerox, Corp., 118 F.R.D. 351 (D.N.J. 1987), and the spurious

class action approach in Shushan v. Univ. of Colo. at Boulder, 132 F.R.D. 263 (D. Colo.

1990). Although the Fifth Circuit has not formally adopted either method, virtually all of

the courts in this circuit use the two-stage Lusardi approach. Acevedo v. Allsup’s

Convenience Stores, Inc., 600 F.3d 516, 519 (5th Cir. 2010) (noting that neither method

has been formally adopted); Sandoz v. Cingular Wireless, 553 F.3d 913, 915 n.2 (5th Cir.

2008) (observing that most cases proceed using the two-step Lusardi approach). Since

Lusardi is the preferred approach, only that method will be addressed.

       Under Lusardi and its progeny, the first stage is the “notice stage.” Mooney, 54 F.3d

at 1213-14. At the notice stage, the sole issue is whether to authorize notice to potential

class members. Id. The Court does not consider a defendant’s arguments on the merits.

Gandhi v. Dell Inc., No. A-08-CA-248, 2009 WL 1940144, at *34 (W.D. Tex. Jul. 2, 2009).

The decision is often based only on the pleadings and affidavits of the parties. Id.; see also,

Sandoz, 553 F.3d at 915 n.2. “Because the court has minimal evidence, this determination

is made using a fairly lenient standard, and typically results in ‘conditional certification’ of

a representative class” that provides potential class members with notice and the

opportunity to opt in. Mooney, 54 F.3d at 1214 (internal footnote omitted). The case then

proceeds as a collective action throughout discovery. Id. at 1213-14. The second stage

normally occurs after the parties have largely completed discovery and the defendant

moves for decertification. Sandoz, 553 F.3d at 915 n.2. At that point, “the court must make

a factual determination as to whether there are similarly-situated employees who have


                                             -7-
     Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 14 of 18



opted in. If so, the collective action may proceed, and if not, the court must dismiss the

opt-in employees, leaving only the named plaintiff’s original claims.” Id. (internal citations

omitted).

                               V. Prerequisites to Class Certification

        This case is at the notice stage. Mooney, 54 F.3d at 1213-14. To prevail, Tran must

make a minimal showing that: (1) there is a reasonable basis for crediting the assertion that

aggrieved individuals exist; (2) those aggrieved are similarly situated to him in relevant

respects given the claims and defenses asserted; and (3) those individuals want to opt into

the lawsuit.6 McKnight v. D. Houston, Inc., 756 F. Supp. 2d 794, 801 (S.D. Tex. 2010).

As an initial matter, the declarations, Tran’s pay stubs, the admissions in Keane Fracking’s

answer, and other evidence attached to this motion clearly establish that Tran and other

sand haulers, drivers and/or logistics drivers worked in excess of forty hours per week but

were not paid overtime in violation of 29 U.S.C. § 207(a).

        Additionally, Tran’s declaration, the presence of five additional opt-ins, and their

respective declarations show that other putative class members exist, are similarly situated

to Plaintiff and want to recover their unpaid regular and overtime wages from Keane

Fracking. See, Lee v. Veolia ED Indus. Servs., No. 1:12-CV-136, 2013 U.S. Dist. LEXIS

74193, at *20-*21 (E.D. Tex. Apr. 12, 2013) (“Finally, Veolia states that Lee does not

show that other employees wish to opt into to this lawsuit. This statement is puzzling and


                                                            
               6
                 Courts in this circuit are divided on whether a named plaintiff must actually show that others are
interested in joining the lawsuit. See, e.g., Gibson v. NCRC, Inc., No. H-10-1409, 2011 U.S. Dist. LEXIS
77591, at *19-*21 (S.D. Tex. Jul. 18, 2011) (Rosenthal, J.) (noting that there is no requirement to show that
others are interested in joining lawsuit).


                                                      -8-
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 15 of 18



incorrect: Lee has filed notices for twelve individuals who wish to opt into to this

lawsuit.”); but cf., Gibson v. NCRC, Inc., No. H-10-1409, 2011 U.S. Dist. LEXIS 77591,

at *19-*21 (S.D. Tex. Jul. 18, 2011) (Rosenthal, J.) (noting that there is no requirement to

show that others are interested in joining lawsuit). More specifically, the fact that Tran and

all of the opt-in plaintiffs all work at the same two yards, are assigned the same or

substantially similar tasks, and are uniformly paid straight time for overtime establishes

that they are similarly situated.

       Finally, permitting early notice and full participation by the Putative Class Members

“assures that the full ‘similarly situated’ decision is informed, efficiently reached, and

conclusive.” Sperling v. Hoffman-La Roche, Inc., 118 F.R.D. at 406. Once the notice period

is complete, the court will have the advantage of knowing the composition of the collective

action. Thus, early notice helps courts to manage the case because it can “ascertain the

contours of the action at the outset.” Hoffman-La Roche, 493 U.S. at 172. Therefore, the

Court should grant Plaintiff’s motion for class certification and authorize notice to potential

class members.

                                    VI. Proposed Notice

       A collective action depends “on employees receiving accurate and timely notice

concerning the pendency of the collective action, so that they can make informed decisions

about whether to participate.” Hoffmann-La Roche, 493 U.S. at 170. The proposed notice

meets the requirements set forth in Hoffman-La Roche because it accurately describes the

claims being made against Keane Fracking, the prohibition against retaliation, and the

procedure for joining the lawsuit. See, Ex. F, Proposed Notice to Potential Class Members.


                                             -9-
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 16 of 18



Plaintiff requests that the notice be sent to potential class members by first class and

electronic mail. See, Flowers v. MGTI, LLC, No. H-11-1235, 2012 U.S. Dist. LEXIS

73900, at *14 (S.D. Tex. May 29, 2012) (notices sent by first class mail); See also, Jones

v. Cretic Energy Servs., LLC., No. H-15-0051, 2015 U.S. Dist. LEXIS 164786, at *31 (S.D.

Tex. Dec. 9, 2015) (notices sent by email). Plaintiff also requests that the Court fix a

postmark deadline for the return of consent forms of sixty (60) days from the date the

notices are mailed and emailed and that a reminder notice be sent thirty (30) days before

the deadline to join. See, id. Class counsel will oversee the implementation of notice and

cover any associated costs.

                                  VII. Other Matters

       Although the notice process does not stop the statute of limitations, it does, at a

minimum, notify the Putative Class Members of the case, and that the statute of limitations

is running on their claims. Fisher v. Mich. Bell Tel. Co., 2009 U.S. Dist. LEXIS 98146, at

*828 (citing Hoffman-La Roche, 493 U.S. at 170). Issuance of notice via email is especially

important in this case because the Putative Class Members work in remote locations for

extended periods of time, making it extremely difficult for them to regularly receive mail.

       Therefore, to ensure notice may be timely implemented, Plaintiff requests that

Keane Fracking produce verified contact information (i.e., names, last known addresses,

and email addresses) for all putative class members who worked for Keane Fracking who

on or after November 2014. Ex. G, Proposed Affidavit of Keane Fracking Representative.

See, Flowers, 2012 U.S. Dist. LEXIS 73900, at *13-*14. This information is discoverable

as a matter of right even in the absence of a collective action, because these other


                                          - 10 -
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 17 of 18



employees are persons with relevant knowledge. FED. R. CIV. P. 26(b)(1); Hoffman-La

Roche, 493 U.S. at 170 (discovery of names and address of similarly situated employees is

permissible regardless of whether lawsuit has been certified as a collective action); See

also, Barnard v. Intertek USA Inc., C.A. No. 4:11-cv-02198 *22 (S.D. Tex. May 2, 2012)

(EFC No. 99 (Johnson, Mag. J.) (“Plaintiff’s counsel shall mail a copy of the notice and

consent forms attached to their motion, with the required changes, via regular United States

mail and/or via electronic mail … .”); Martinez v. Refinery Terminal Fire Company, C.A.

No. C-11-295 (S.D. Tex. Jan. 2,5, 2012 ) (ECF No. 54) (Ramos, J.) (Ordering the

production of names, addresses, email addresses and telephone numbers); Lopez v. Allis

Chalmers Energy Inc., C.A. No. C-11-353 (S.D. Tex. April 20, 2012) (ECF No. 92)

(Same); Beall v. Tyler Technologies, Inc., C.A. 2-08-CV-422, 2009 WL 3064689, at *1

(E.D. Tex. Sept. 23, 2009) (court granted class notice via email and later compelled the

employer to produce all email addresses, both personal and work).

                                    VIII. Conclusion

       At its core, this is a straightforward of failure to pay overtime in violation of the

FLSA. And since Plaintiff and those whom he seeks to represent are all victims of a

uniform pay practices that violate the FLSA, the Court should (1) conditionally certify this

case collective action pursuant to 29 U.S.C. § 216(b); (2) authorize the issuance of notice

to potential class members via mail and email; and (3) order Keane Fracking to produce

verified contact information, including email addresses, for all putative class members so

that notice may be timely implemented.




                                           - 11 -
    Case 4:17-cv-03588 Document 22 Filed in TXSD on 12/18/17 Page 18 of 18



                                                 Respectfully Submitted,

                                                 MOORE & ASSOCIATES

                                                 By:
                                                       Melissa Moore
                                                       State Bar No. 24013189
                                                       Federal Id. No. 25122
                                                       Curt Hesse
                                                       State Bar No. 24065414
                                                       Federal Id. No. 968465
                                                       Bridget Davidson
                                                       State Bar No. 24096858
                                                       Federal Id. No. 3005005
                                                       Lyric Center
                                                       440 Louisiana Street, Suite 675
                                                       Houston, Texas 77002
                                                       Telephone: (713) 222-6775
                                                       Facsimile: (713) 222-6739

                                                 ATTORNEYS FOR PLAINTIFF


                           CERTIFICATE OF SERVICE

    I hereby certify that on December 18, 2017, I filed this motion with the Court’s
CM/ECF system which will send notification of such filing to the all counsel of record.



                                                                 Melissa Moore




                                        - 12 -
